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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
v. Case Number: 3:17-cr-160-J-34JBT
SEAN HARRISON MACKERT USM Number: 69587-018

Jeffrey Harris Lichtman, Retained
11 E. 44th Street
New York, NY 10017

JUDGMENT IN A CRIMINAL CASE

 

The defendant pleaded guilty to Count One of the Information. The defendant is adjudicated guilty of this offense:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. § 1349 Conspiracy to Commit Wire Fraud March 2014 One

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes
in economic circumstances.

Date of Imposition of Sentence:

February 5, 2018

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IARCIA MORALES HOWARD
UNITED STATES DISTRICT JUDGE

February _(/ __, 2018

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PROBATION
You are hereby sentenced to Probation for a term of: THREE (3) YEARS.
MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
You must cooperate in the collection of DNA as directed by the probation officer.

You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this
judgment.

You must notify the court of any material change in your economic circumstances that might affect your ability to
pay restitution, fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of the time you were sentenced, unless the probation officer instructs you to report to a different probation
office or within a different time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about
your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

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10.

11.
12.

13.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
{i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchucks or tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AU.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

 

ADDITIONAL CONDITIONS OF PROBATION

You shall also comply with the following additional conditions of probation:

You shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation officer's
instructions regarding the implementation of this court directive. Further, you shall contribute to the costs of these
services not to exceed an amount determined reasonable by the Probation Office’s Sliding Scale for Substance
Abuse Treatment Services. During and upon the completion of this program, you are directed to submit to random
drug testing.

You shall perform 150 HOURS (50 hours per year) of community service as directed by the probation officer.

You shall participate in a mental health treatment program (outpatient and/or inpatient) and follow the probation
officer's instructions regarding the implementation of this court directive. Further, you shall contribute to the costs
of these services not to exceed an amount determined reasonable by the Probation Office's Sliding Scale for Mental
Health Treatment Services.

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CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

Assessment JVTA Assessment ' Fine Restitution
TOTALS $100.00 $0 $0 $0
SCHEDULE OF PAYMENTS

The Special Assessment in the amount of $100.00 is due in full and immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless
otherwise directed by the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

FORFEITURE

The defendant shail forfeit his interest in the following property to the United States:
a. One silver John Hardy bracelet measuring approximately 7mm - 17mm x 8 inches, with pave’
settings containing full-cut colorless topazes measuring approximately 1.0mm in diameter each;
Stamped: “JH 925"; Weight: 40.1 grams;

b. One 18Kt. white gold neckchain measuring approximately 1.2mm x 16 inches, and one 18Kt. White
gold crown key pendant with bead settings containing full-cut diamonds weighing approximately
0.14 total carat weight; Stamped: “© TIFFANY & co. AU750" (chain), “© T&Co AU750” (pendant);
Weight: 1.3 grams (chain), 4.0 grams (pendant); and

c. One 14Kt. yellow gold neckchain approximately 1.22mm x 18 inches, and one 18Kt. yellow gold
open face pocket watch measuring approximately 12mm x 12mm, with blue enamel and bead
settings containing: 1 double rose-cut diamond measuring approximately 3.0mm in diameter, with
grades of: Color: H-I, Clarity: SI-1; and 70 seed pearls measuring approximately 1.0mm in diameter
each, with grades averaging: Color: Medium Cream, Shape: Slightly Off-round; Blemishes:
Moderate, Luster: Medium, Matching: Good; Stamped: “Advance Retard” movement) °49430”
{inside of inner back cover), “49430” (inside of inner back cover), “585” (chain); Weight: 2.3 grams
(chain), 14.0 grams (watch).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of
prosecution and court costs.

 

' Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

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